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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit F
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                                                                       Page 1

 1                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
 2                            COLUMBIA DIVISION
                    CASE NO. 3:21-CV-03302-MBS-TJH-RMG
 3
         THE SOUTH CAROLINA STATE CONFERENCE OF
 4       THE NAACP, AND TAIWAN SCOTT, ON BEHALF
         OF HIMSELF AND ALL OTHER SIMILARLY
 5       SITUATED PERSONS,
 6                   Plaintiffs,
 7              vs.
 8       THOMAS C. ALEXANDER, HENRY D. MCMASTER,
         IN HIS OFFICIAL CAPACITY AS GOVERNOR OF
 9       SOUTH CAROLINA; HARVEY PEELER, IN HIS
         OFFICIAL CAPACITY AS PRESIDENT OF THE
10       SENATE; LUKE A. RANKIN, IN HIS OFFICIAL
         CAPACITY AS CHAIRMAN OF THE SENATE
11       JUDICIARY COMMITTEE; JAMES H. LUCAS, IN
         HIS OFFICIAL CAPACITY AS SPEAKER OF THE
12       HOUSE OF REPRESENTATIVES; CHRIS MURPHY,
         IN HIS OFFICIAL CAPACITY AS CHAIRMAN OF
13       THE HOUSE OF REPRESENTATIVES JUDICIARY
         COMMITTEE; WALLACE H. JORDAN, IN HIS
14       OFFICIAL CAPACITY AS CHAIRMAN OF THE
         HOUSE OF REPRESENTATIVES ELECTIONS LAW
15       SUBCOMMITTEE; HOWARD KNABB, IN HIS
         OFFICIAL CAPACITY AS INTERIM EXECUTIVE
16       DIRECTOR OF THE SOUTH CAROLINA STATE
         ELECTION COMMISSION; JOHN WELLS, JOANNE
17       DAY, CLIFFORD J. ELDER, LINDA MCCALL,
         AND SCOTT MOSELEY, IN THEIR OFFICIAL
18       CAPACITIES AS MEMBERS OF THE SOUTH
         CAROLINA STATE ELECTION COMMISSION,
19
                         Defendants.
20
21       DEPOSITION OF:         ANDREW THEODORE FIFFICK
                                (Appearing via VTC)
22
         DATE:                  July 21, 2022
23
         TIME:                  10:10 a.m.
24
25

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                                                                    Page 18

 1       the substance of the communication that may have
 2       been communicated back.           I'm just interested in how
 3       it was communicated back and specifically by email,
 4       by phone, by text, a combination thereof?
 5                  A.   It was phone.         It was phone.        There
 6       might be some emails out there.                   If there are,
 7       y'all have got them.         I don't think so.            It was
 8       easier for him to just look at the map and talk to
 9       us and say thumbs up, thumbs down.                   And, you know,
10       he said thumbs up on the one busting the task.
11       BY MS. ADEN:
12                  Q.   How many of those meetings do you think
13       you had?
14                  A.   Meetings with who?
15                  Q.   Mr. Gore by phone.
16                  A.   Phone calls with Mr. Gore about
17       congressional maps?
18                  Q.   Yes.
19                  A.   Maybe half a dozen.               And they were all
20       here's a map, do you think it's okay?
21                  Q.   So you mentioned about six maps went to
22       Mr. Gore so you think approximately six calls or do
23       you think there were more calls about --
24                  A.   I don't think there were more calls --
25       I don't think there were more calls than maps.                     I

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 1       you assisted in crafting legislation for the House?
 2                   A.    For the House, no.
 3                   Q.    For the Senate?
 4                   A.    Well, I mean, yeah.                I take that back.
 5       Yes.       Yeah, because I work for the House not the
 6       capacity with the Senate I've not worked -- well, I
 7       guess, yeah.        Thinking, yeah, we do work on stuff
 8       together.        So, yeah.      That incident, yes.
 9                   Q.    And that's like the nuts and bolts of
10       coming up with a bill?
11                   A.    Correct.
12                   Q.    Okay.    And have you assisted in your
13       current or past positions with shepherding
14       legislation through the legislative process?
15                   A.    Yes.    And by shepherding, I'm not sure
16       what you mean there, but I think yes.                      The answer
17       is yes.
18                   Q.    What is your role -- describe for me
19       what you believe to have been your role in
20       developing congressional maps this cycle.
21                   A.    Meeting with members, having them tell
22       me, Will Roberts, Charlie Terreni, Breeden John,
23       Maura Baker to a lesser extent, Paula how they
24       thought the maps should be drawn and watching Will
25       Roberts draw it and then submitting it, you know,

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                                                                    Page 255

 1                  Q.   And what about constituent consistency?
 2       Who would have been responsible for making that
 3       determination?
 4                  A.   Again, everybody in the room
 5       discussion.      And by seeing the map, you know, which
 6       didn't change a lot of lines -- just about anybody
 7       could make that initial change -- but again, this
 8       was a first staff map so I don't know that we
 9       really were cognizant of everything because we knew
10       it was going to change.            We knew the numbers were
11       going to change it.
12                  Q.   And who would have been responsible for
13       determining whether the plan minimized divisions of
14       counties, cities and towns, and/or splits of VTDs?
15                  A.   I think those are again numbers that
16       really would have happened but not determined.
17       It's just what the numbers were.
18                  Q.   And district compactness?
19                  A.   Compactness?
20                  Q.   District compactness.
21                  A.   Yeah.    I mean, I guess, you know,
22       everybody in the room kind of again looked at it
23       knowing that we were going to have many changes.
24       And all this would have gone on the back end up to
25       Charlie Terreni and John Gore.

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 1                       So I think that analysis was
 2       probably -- and actually now that I think about it,
 3       that analysis may have been done by Grayson, the
 4       other GIS operator.        Maybe he generated the reports
 5       because -- I think that is the case now.                  One of
 6       the ways we wanted to make sure we had one person
 7       drawing a map in the map room -- we didn't want to
 8       have two GIS operators -- so we split the duties of
 9       looking at the other maps for the bare bones,
10       statistics, and deviation.             I think we delegated
11       that, like I said, to Grayson.
12                  Q.   And that bare bones assisting, was that
13       part of the information that was then given to
14       members alongside the maps?
15                  A.   Yeah, I'm sure.          I'm pretty sure I
16       remember us having just the similar numbers like
17       that from the other maps in their reports when they
18       were presenting their maps.
19                  Q.   Of the maps that were sent up to
20       Mr. Gore developed by Senate members, do you
21       recall -- and I don't want to know the nature of
22       your conversations -- but generally was it up and
23       thumbs up or thumbs down or was it back and forth
24       on any particular maps?
25                       MR. TYSON:      Okay.       I'm going to object.

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 1       That's attorney-client privilege.                    Any kind of
 2       discussion on that is going to potentially leak
 3       into conversations of attorney-client.
 4       BY MS. ADEN:
 5                  Q.     Okay.    On the Campsen map before it was
 6       introduced, the legal analysis about its compliance
 7       with Section 2 -- I'm sorry.                  Any legal analysis
 8       that would have been done on Campsen's 1, that
 9       would have been performed by Terreni and Gore just
10       like with the other maps that had preceded it?
11                  A.     I think initial review by Charlie
12       Terreni.        But, you know, is this map okay?                  Did he
13       pass it?        That would have been John Gore.
14                  Q.     Do you have any opinion about whether
15       the Campsen 1 Plan complied with the Senate's
16       redistricting criteria?
17                  A.     I don't.
18                  Q.     With respect to the Campsen map, was
19       there any discussion about increasing, decreasing,
20       or maintaining the black voting age populations in
21       certain districts?
22                         MR. TYSON:        I'm going to object; asked
23       and answered numerous times.
24                         MS. ADEN:       Actually, to be honest, I
25       can't remember which map we were talking about when

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